           Case 1:16-cr-10268-IT Document 391 Filed 01/23/19 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      *
                                              *
               v.                             *              Criminal No. 16-cr-10268-IT
                                              *
SCHULTZ CHAN, a/k/a Jason Chan,               *
and SONGJIANG WANG,                           *
                                              *
               Defendants.                    *

               MEMORANDUM & ORDER ON MANDATORY RESTITUTION
                              January 23, 2019

TALWANI, D.J.

   I.      INTRODUCTION

        A jury convicted Defendant Songjiang Wang (“Wang”) of one count of conspiring to

commit securities fraud in violation of 18 U.S.C. § 371 and two counts of securities fraud in

violation of 15 U.S.C. §§ 78j(b) and 78ff(a) and 17 C.F.R. § 240.10b-5. The jury also convicted

Defendant Schultz Chan (“Chan”) of these same three counts and an additional count of

securities fraud in violation of 15 U.S.C. §§ 78j(b) and 78ff(a) and 17 C.F.R. § 240.10b-5. The

case involved, among other actions, purchases of stock of Akebia Therapeutics (“Akebia”),

while Chan was employed there.

        In a September 21, 2018, letter to the court, Akebia requested restitution pursuant to the

Mandatory Victims Restitution Act (“MVRA”), 18 U.S.C. § 3663A, in the amount of

$306,899.27. Akebia contends that this amount reflects fees and costs it incurred “associated

with the Department of Justice’s (‘DOJ’) prosecution of the Defendants,” and submitted in

support of the request spreadsheets for fees and costs for outside counsel Ropes & Gray, LLP,

and for contract attorneys from Counsel On Call, invoices for technical support provided by

StoneTurn Group, LLP, and a victim impact statement from Akebia’s General Counsel.
             Case 1:16-cr-10268-IT Document 391 Filed 01/23/19 Page 2 of 5




         Defendants objected to the requested restitution. See Def.’s Joint Memo. in Opp. to

Akebia Restitution Request [#363]. The government and Akebia submitted briefing on the

statutory construction of the applicable provision of the MVRA. See Gov.’s Br. [#378]; Non-

party Akebia Therapeutics, Inc.’s Supplemental Memorandum [#380]. Defendant Chan

submitted a brief reply. Reply Letter [#388].

         The court addresses here the disputed interpretation of the MVRA and directs the

government to submit a revised request for mandatory restitution in light of this memorandum

and order.

   II.       STATUTORY CONSTRUCTION

         When sentencing a defendant convicted of an offense under Title 18, “the court shall

order…that the defendant make restitution to the victim of the offense…” 18 U.S.C.

§ 3663A(a)(1); see 18 U.S.C. § 3663A(c)(1)(A)(ii). A “‘victim’ means a person directly and

proximately harmed as a result of the commission of an offense for which restitution may be

ordered.” 18 U.S.C. § 3663A(a)(2). The statutory provision applies to various offenses, including

offenses against property under Title 18 in which an identifiable victim has suffered a pecuniary

loss. Id. § 3663A(c)(A), (B). Defendants do not dispute that the MVRA applies to the offenses of

conviction and that Akebia was a victim, as defined by statute, that has suffered a pecuniary loss.

         A victim’s loss is eligible for restitution if it “would not have occurred but for the

conduct underlying the offense of conviction” and “the causal connection between the conduct

and the loss is not too attenuated (either factually or temporally).” United States v. Cutter, 313

F.3d 1, 7 (1st Cir. 2002). In order to determine how much, if any, restitution is required, the court

“undertake[s] an individualized inquiry: what constitutes sufficient causation can only be

determined case by case, in a fact-specific probe.” Id. (quoting United States v. Vaknin, 112 F.3d




                                                   2
                Case 1:16-cr-10268-IT Document 391 Filed 01/23/19 Page 3 of 5




579, 589-90 (1st Cir. 1997)). This individualized inquiry follows the familiar requirements of

causation, necessitating “but-for” and “proximate” causation. “The basic question that a

proximate cause requirement presents is ‘whether the harm alleged has a sufficiently close

connection to the conduct’ at issue.” Robers v. United States, 572 U.S. 639, 645 (2014) (quoting

Lexmark Int'l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 132 (2014)). The costs

incurred must also be “reasonably foreseeable.” E.g. United States v. Janosko, 642 F.3d 40, 42

(1st. Cir. 2011).

    III.        ANALYSIS OF AKEBIA’S REQUEST FOR RESTITUTION

           Akebia is entitled to all reasonable and reasonably foreseeable “necessary…expenses

incurred during [a] participation in the investigation or prosecution of the offense or [b]

attendance at proceedings related to the offense.” 18 U.S.C. § 3663A(b)(4).

           A.      Expenses Incurred Prior to Participation or Attendance

           Akebia’s entitlement under 18 U.S.C. § 3663A(b)(4) applies only to expenses incurred in

connection with the criminal investigation and prosecution, and not to expenses incurred prior to

such criminal proceedings. Lagos v. United States, 138 S. Ct. 1684, 1688-1690 (2018).

Accordingly, all expenses incurred prior to the start of Akebia’s participation in the criminal

investigation will be excluded from the mandatory restitution total.

           B.      Expenses Incurred During Participation

           Akebia may recover under 18 U.S.C. § 3663A(b)(4) for participation costs directly tied to

the government’s investigation and prosecution. The costs of compiling and producing

documents in response to government requests for those documents in connection with the

criminal investigation, and the costs incurred in connection with Akebia employees’ preparation

for interviews by the government prosecutors for this case are proximately caused by the




                                                   3
              Case 1:16-cr-10268-IT Document 391 Filed 01/23/19 Page 4 of 5




Defendants’ conduct. Akebia is entitled to mandatory restitution of those expenses, so long as

they are not unnecessary or excessive.

         Foreseeable and necessary participation costs do not include matters unrelated to the

government’s investigation and prosecution, such as fees incurred in connection with a Freedom

of Information Act request, fees to conduct a background check for a potential employee, fees

for analyses of insurance coverage, public relations costs, advice regarding state privacy laws,

office supplies, fees for paralegals, clerks, summer associates, associates, partners, and litigation

support analysts to read the indictment and other filings and to draft reports, and bills for taxis

for attorneys working late on matters other than the aforementioned document production and

employee interview preparation. Such expenses will be excluded from any mandatory restitution

order.

         C.      Expenses Incurred Attending Proceedings

         Under the MVRA, a victim also has the right to restitution for reasonable expenses,

including “lost income, and necessary child care, transportation and other expenses,” to attend

proceedings related to the offense. 18 U.S.C. § 3663A(b)(4). This right applies to expenses

incurred to attend proceedings by either the individual victim or by the employee of a corporate

victim. See Lagos, 138 S. Ct. at 1688.

         Here, Akebia seeks reimbursement not for its employees’ costs to attend such

proceedings but for hourly fees (and costs) for outside counsel and summer associates to watch

weeks of trial, status conferences and other proceedings. The court finds that it is neither

foreseeable nor reasonable to charge defendants attorneys fees and costs for Akebia’s legal

representatives to watch criminal proceedings. Cf. United States v. Coret, 77 Fed. Appx. 7, 10

(1st Cir. 2003) (“The watchword is reasonableness.”).




                                                  4
             Case 1:16-cr-10268-IT Document 391 Filed 01/23/19 Page 5 of 5




          Indeed, while many individual or corporate victims would relish having an attorney

watch and report on all criminal proceedings, the mandatory restitution scheme supports no such

fee shifting provision. The court finds such a luxury unworkable and unjust in a mandatory

restitution scheme. Indeed, such a statutory construction would create a bizarre incentive where

defendants could not afford to go to trial and would need to minimize the moments they appear

in court or the documents they file on the public docket, knowing that every six minutes of court

time would be charged to them at sentencing at corporate rates.

          In sum, the court finds restitution for attendance at proceedings under the MVRA limited

to costs incurred directly by Akebia’s employees. 1

    IV.      CONCLUSION

          The government has the “burden of demonstrating the amount of the loss sustained by

[Akebia].” 18 U.S.C. § 3664(e). The government may submit a request for restitution for

Akebia’s reasonable and foreseeable expenses, as construed in this order, by noon on January 28,

2019. Defendants may file objections by 6:00 p.m. on January 30, 2019.

IT IS SO ORDERED.


Date: January 23, 2019                                /s/ Indira Talwani
                                                      United States District Judge




1
 The expense of preparing daily reports of testimony where, as here, there was a witness
sequestration order, is also outside of the scope of the MVRA. See Electronic Order Allowing
Def.’s Joint Mot. to Sequester Witnesses [#217]. At hearing, counsel for Akebia represented to
the court that those reports were not shared with Akebia witnesses during trial. The Defendants
note that “[t]he only reason a new trial is not being sought…at this time is that there is no
evidence that the Government was involved in this activity.” Def.’s Joint Memo. in Opp. to
Akebia Restitution Request [#363] at 2.


                                                  5
